        Case 1:24-cv-12283-JEK          Document 43       Filed 12/06/24    Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 FOUR WOMEN HEALTH SERVICES, LLC

                               Plaintiff,

                        v.
                                                          Civil Action No.: 1:24-cv-12283-JEK
 ABUNDANT HOPE PREGNANCY
 RESOURCE CENTER INC. d/b/a ATTLEBORO
 WOMEN’S HEALTH CENTER, CATHERINE
 ROMAN, NICOLE CARGES, and DARLENE
 HOWARD,


                               Defendants.



                                  JOINT STATUS REPORT

        Plaintiff Four Women Health Services, LLC (“Four Women”) and Defendants Abundant

Hope Pregnancy Resource Center Inc. d/b/a Attleboro Women’s Health Center (“Abundant

Hope”), Catherine Roman, Nicole Carges, and Darlene Howard (collectively, “Defendants”)

provide the following Status Report regarding activity in this case.

       1. On October 4, 2024, this Court issued an order granting in part Four Women’s motion

           for limited expedited discovery and establishing a schedule for discovery and

           supplemental briefing in connection with Four Women’s request for a preliminary

           injunction. ECF 40.

       2. The parties engaged in discovery pursuant to the Court’s order, including conducting

           Rule 30(b)(6) depositions of Abundant Hope and propounding third-party subpoenas



                                                 1
Case 1:24-cv-12283-JEK         Document 43       Filed 12/06/24      Page 2 of 4




   on Abundant Hope’s telephone and text message providers. As of the date of this filing,

   there are two outstanding third-party subpoenas.

3. Based on the discovery exchanged during this limited expedited discovery period, in

   lieu of the supplemental briefing outlined in the Court’s October 4 order, Four Women

   intends to request leave to amend its complaint.

4. Four Women’s proposed amended complaint adds a new defendant, Choose Life

   Marketing, LLC (“Choose Life Marketing”), pursuant to Fed. R. Civ. P. 15.

5. In accordance with Rule 15.1 of the Court’s Local Rules, Four Women has served a

   copy of its intended Motion for Leave to File Amended Complaint prior to filing the

   motion with this Court. Specifically, following several failed attempts to serve Choose

   Life Marketing in person, including an attempt on its registered agent, Choose Life

   Marketing was served via certified mail on December 6, 2024. See Fed. R. Civ. P.

   5(b)(2)(C) (“A paper is served under this rule by mailing it to the person’s last known

   address—in which event service is complete upon mailing.”).

6. Four Women will file the motion with the Court on December 20, 2024.

7. Four Women and Defendants have conferred regarding Four Women’s intentions with

   respect to amending its complaint, and Defendants do not object to the process outlined

   herein.




                                        2
     Case 1:24-cv-12283-JEK   Document 43    Filed 12/06/24    Page 3 of 4



DATED: December 6, 2024             Four Women Health Services, LLC,

                                    By its attorneys,


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                                    Abundant Hope Pregnancy Resource Center Inc.,
                                    Catherine Roman, Nicole Carges, and Darlene
                                    Howard,

                                    By their attorney,

                                    /s/ Thomas M. Harvey
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                                    3
       Case 1:24-cv-12283-JEK        Document 43      Filed 12/06/24     Page 4 of 4




                              CERTIFICATE OF SERVICE

      On December 6, 2024, I, Emily Nash, caused to be served the within on counsel for
Defendants via ECF service.

                                                  /s/ Emily Nash
                                                  Emily Nash




                                             4
